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                         UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON
                                  AT SEATTLE




    UTHERVERSE GAMING LLC,
                    Plaintiff(s),                   CASE NO. 2:21−cv−00799−RSM
         v.
    EPIC GAMES INC,                                 ORDER SETTING
                                                    TRIAL DATE AND
                                                    RELATED DATES
                   Defendant(s).



      JURY TRIAL DATE                                        May 12, 2025

      Length of Trial                                        4−5 days

      Deadline for joining additional parties

      Deadline for amending pleadings

      Disclosure of expert testimony under
            FRCP 26(a)(2)

      Deadline for filing motions related to discovery.
             Any such motions shall be noted for
             consideration pursuant to LCR 7(d)(3)

      Discovery completed by

      All dispositive motions must be filed by
              and noted on the motion calendar no
              later than 28 days thereafter
              (see LCR 7(d))



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      Mediation per LCR 39.1(c)(3), if requested
      by the parties, held no later than

      All motions in limine must be filed by
             and noted on the motion calendar no
             later than 21 days thereafter

      Agreed pretrial order due

      Pretrial conference to be scheduled by
             the Court.

      Trial briefs, proposed voir dire questions,
            jury instructions, neutral statement of
            the case, and trial exhibits due               April 21, 2025

           These dates are set at the direction of the Court after reviewing the Joint

      Status Report and discovery plan submitted by the parties. All other dates are

      specified in the Local Civil Rules. If any of the dates identified in this Order

      or the Local Civil Rules fall on a weekend or federal holiday, the act or event

      shall be performed on the next business day. These are firm dates that can be

      changed only by order of the Court, not by agreement of counsel or the parties.

      The Court will alter these dates only upon good cause shown. Failure to

      complete discovery within the time allowed is not recognized as good cause.

           If the trial date assigned to this matter creates an irreconcilable conflict,

      counsel must notify the Deputy Clerk, Laurie Cuaresma, by email or telephone

      at laurie_cuaresma@wawd.uscourts.gov or (206) 370−8521 within 10 days of

      the date of this Order and must set forth the exact nature of the conflict. A

      failure to do so will be deemed a waiver. Counsel must be prepared to begin

      trial on the date scheduled, but it should be understood that trial may have to

      await completion of other cases.



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            ALTERATIONS TO ELECTRONIC FILING PROCEDURES

           As of June 1, 2004, counsel shall be required to electronically file all

      documents with the court. Pro se litigants may file either electronically or in

      paper form. Information and procedures for electronic filing can be found on

      the Western District of Washington's website at

      https://www.wawd.uscourts.gov.

           The following alterations to the Electronic Filing Procedures apply in all

      cases pending before Judge Martinez:


           • Section III, Paragraph F: When the aggregate submittal to the Court

             (i.e., the motion, any declarations and exhibits, the proposed order,
             and the certification of service) exceeds 50 pages in length, a paper
             copy of the documents (3−hole punch, with dividers, banded or clipped
             as needed. No binders.) must be delivered to the Clerk's Office by 10:30
             a.m. the day after the filing. The chambers copy must be clearly marked
             with the words "Courtesy Copy of Electronic Filing for Chambers."
           • Section III, Paragraph L: Unless the proposed order is stipulated,

             agreed, or otherwise uncontested, the parties need not email a copy
             of the order to the judge's orders email address.

                                   PRIVACY POLICY

           Pursuant to the General Order of the Court regarding Public Access to

      Electronic Case Files (filed May 29, 2003), parties are to redact the following

      information from documents and exhibits before they are filed with the court:


           • Dates of Birth − redact to the year of birth



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           • Names of Minor Children − redact to the initials

           • Social Security Numbers and Taxpayer−Identification Numbers − redact
               in their entirety
           • Financial Accounting Information − redact to the last four digits

           • Passport Numbers and Drivers License Numbers − redact in their
               entirety

           The General Order was issued pursuant to the official policy on privacy

      adopted by the Judicial Conference of the United States and can be found on

      the court's website at https://www.wawd.uscourts.gov/docs. All documents

      filed in the above−captioned matter must comply with the Privacy Policy and

      the General Order.

                                      COOPERATION

           As required by LCR 37(a), all discovery matters are to be resolved by

      agreement if possible. Counsel are further directed to cooperate in preparing

      the final Pretrial Order in the format required by LCR 16.1, except as ordered

      below.

                                         EXHIBITS

           The original and one copy of the trial exhibits are to be delivered

      to chambers seven days before the trial date. Each exhibit shall be clearly

      marked. Exhibit tags are available in the Clerk's Office.

           The Court hereby alters the LCR 16.1 procedure for numbering exhibits:

      Plaintiff's exhibits shall be numbered consecutively beginning with the

      number "1"(one). Defendant's exhibits shall be numbered consecutively




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      beginning with "A−1" (one). Duplicate documents shall not be listed

      twice. Once a party has identified an exhibit in the Pretrial Order, any party

      may use it. Each set of exhibits shall be submitted in a three−ring binder with

      appropriately numbered tabs.

                                      SETTLEMENT

           Should this case settle, counsel shall immediately notify Laurie

      Cuaresma, at laurie_cuaresma@wawd.uscourts.gov or (206) 370−8521.

      Pursuant to LCR 3(b), an attorney who fails to give the courtroom deputy

      prompt notice of settlement may be subject to such sanctions or discipline

      as the Court deems appropriate.


         DATED: September 27, 2024




                                              Honorable Ricardo S. Martinez
                                              United States District Judge




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